
The Disciplinary Review Board having filed with the Court its decision in DRB
*20616-266, concluding that as a matter of final discipline pursuant to Rule 1:20-13(c), CHRISTOPHER MICHAEL HARTWYK of SOUTH ORANGE, who was admitted to the bar of this State in 1985, should be reprimanded for violating RPC 8.4(b) (commission of a criminal act reflecting adversely on the lawyer's honesty, trustworthiness, or fitness as a lawyer) and RPC 8.4(c) (conduct involving dishonesty, fraud, deceit or misrepresentation), and good cause appearing;
It is ORDERED that CHRISTOPHER MICHAEL HARTWYK is hereby reprimanded; and it is further
ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State; and it is further **22ORDERED that respondent reimburse the Disciplinary Oversight Committee for appropriate administrative costs and actual expenses incurred in the prosecution of this matter, as provided in Rule 1:20-17.
